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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


SEAN M. GERLICH, et al.                )
                                       )
           Plaintiffs,                 )
                                       )
                                       )
           v.                          )                       CASE NO.: 1:08-cv-1134 (JDB)
                                       )
UNITED STATES DEPARTMENT               )
OF JUSTICE, et al,                     )
                                       )
           Defendants.                 )
______________________________________ )


     DEFENDANT ESTHER SLATER MCDONALD’S MOTION TO STRIKE
   THE CLASS ALLEGATIONS OR, IN THE ALTERNATIVE, TO STAY CLASS
    CERTIFICATION BRIEFING AND RELATED PROCEEDINGS PENDING
 RESOLUTION OF DEFENDANTS’ MOTIONS TO DISMISS PLAINTIFFS’ SECOND
 AMENDED COMPLAINT AND MEMORANDUM OF LAW IN SUPPORT THEREOF


       Defendant Esther Slater McDonald hereby moves this Court to strike Plaintiffs’ class

allegations for a failure to comply with Local Civil Rule 23.1(b), which requires a plaintiff to

move for class certification “[w]ithin 90 days” after filing the initial class complaint.

Alternatively, Ms. McDonald moves the Court to stay Plaintiffs’ Motion for Class Certification

until after the Court rules on Ms. McDonald’s pending Motion to Dismiss Plaintiffs’ Second

Amended Complaint.

       Local Civil Rule 23.1(b) requires a plaintiff to move for class certification “[w]ithin 90

days after the filing of a complaint in a case sought to be maintained as a class action, unless the

court in the exercise of its discretion has extended this period.” Howard v. Gutierrez, 474 F.

Supp. 2d 41, 45 (D.D.C. 2007) (Bates, J.). “[T]he most natural reading of the rule requires the
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filing of a certification motion within ninety days of the first complaint that states class

allegations-in this case, the initial complaint.” Id. at 54 (rejecting plaintiffs’ argument that their

motion was in compliance because it was filed within 90-days of the amended complaint)

(emphasis added). The rule also provides that a defendant “may move at any time to strike the

class action allegations.” L. Civ. R. 23.1(b).

       “Local Rule 23.1(b) and its predecessors have been strictly applied in this Circuit.”

Howard, 474 F. Supp. 2d at 53 (citing Black Panther Party v. Smith, 661 F.2d 1243, 1279 (D.C.

Cir. 1981) vacated on other grounds sub nom. Moore v. Black Panther Party, 458 U.S. 1118

(1982) (affirming the denial of an extension of time filed a mere eleven days late); Batson v.

Powell, 912 F.Supp. 565, 570 (D.D.C. 1996) (denying a motion for class certification filed

twenty days late); Weiss v. Int’l Bhd. of Elec. Workers, 729 F.Supp. 144, 148 (D.D.C. 1990)); see

also Shallal v. Gates, 252 F.R.D. 1, 6 (D.D.C. 2008) (same). Thus, a motion for class

certification that fails to comply with Rule 23.1(b) must be denied. See, e.g., Howard, 474 F.

Supp. 2d at 53-54 (citing cases).

       Here, Plaintiffs’ class allegations were first stated in Plaintiffs’ initial Complaint, filed

against the U.S. Department of Justice on June 30, 2008. Complaint ¶¶ 89-94. Thus, under Rule

23.1(b), Plaintiffs were required to have moved for class certification no later than September 28,

2008 – more than three months ago. Plaintiffs’ motion is untimely even if the deadline is

calculated from the date of the Amended Complaint, filed on August 15, 2008, when Ms.

McDonald was first added as a defendant. By that date, Plaintiffs should have filed their motion

for certification no later than November 13, 2008. Under any calculation, then, Plaintiffs’

motion is untimely.




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       Plaintiffs’ untimeliness is inexcusable, and Plaintiffs make no attempt to justify it or even

to ask this Court, as a matter of discretion, to extend the deadline. Despite having been put on

notice of their failure to comply with Rule 23.1(b), Plaintiffs completely ignore the rule in their

motion for certification. The DOJ’s Reply in Support of Motion to Dismiss, filed on January 23,

2008, explicitly referenced Rule 23.1(b), noting that the Plaintiffs can no longer seek

certification as a class action because they filed their Complaint over three months ago and failed

to seek class certification within 90 days of their filing. See Dkt. 66 at 2 n.2. Plaintiffs’ Motion

for Class Certification and Memorandum in Support, Dkt. 71, however, makes no mention of

Rule 23.1(b)’s requirements. Nor have Plaintiffs separately moved for an extension of time to

comply with Rule 23.1(b).

       In any event, Plaintiffs cannot show excusable neglect for their failure to file a timely

motion for certification. In Howard, this Court held that plaintiffs had failed to show excusable

neglect where (1) the plaintiffs’ explanation for their delay was that they had made “a mistake”

and (2) despite being notified of their untimeliness, plaintiffs waited three months to file a

motion for extension of time to comply with Rule 23.1(b). 474 F. Supp. 2d at 56-57. In contrast

to the Howard plaintiffs, Plaintiffs have offered no explanation for their untimeliness and,

despite having notice, have not moved for an extension of time. Thus, under Howard, Plaintiffs

cannot show excusable neglect.

       As shown, Plaintiffs’ motion is untimely under Rule 23.1(b), Plaintiffs have not moved

for an extension of time to comply with the rule, and Plaintiff made no attempt nor any further

briefing to show (nor could they) excusable neglect for their failure. Accordingly, this Court

should grant Ms. McDonald’s motion to strike Plaintiffs’ class allegations.




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       Alternatively, Ms. McDonald moves to stay Plaintiffs’ Motion for Class Certification

until after this Court rules on the threshold issues raised in Defendants’ Motions to Dismiss. “A

court may certainly decide dispositive motions prior to determining whether the case can be

maintained as a class action.” Garcia v. Veneman, 211 F.R.D. 15, 19 (D.D.C. 2002); see, e.g.,

Berriochoa Lopez v. United States, 309 F. Supp. 2d 22, 23 n.1 (D.D.C. 2004) (granting motion to

dismiss “without reaching the issue of class certification”). “[N]othing in … Rule 23(c) requires

the district court to rule on class certification before granting or denying a [dispositive] motion.”

Curtin v. United Airlines, Inc., 275 F.3d 88, 92 (D.C. Cir. 2001). Where a plaintiff’s claims are

fatally flawed, dismissing the claims before reaching the class certification issue “spares both the

parties and the court a needless, time-consuming inquiry into certification.” Id. (citing FJC

Manual for Complex Litigation s 30.11 (3d ed. 1995) (stating that “[w]hen it is clear that the

action lacks merit, dismissal [before certification] will avoid unnecessary expense for the parties

and burdens for the court”)). Given Plaintiffs’ disregard of the local rules and their inexplicable

delay in filing the motion for class certification, they can hardly complain about postponing

briefings on the matter of class certification until after the Motions to Dismiss are decided.

       As shown in Ms. McDonald’s Motion to Dismiss, Plaintiffs’ claims are fatally flawed –

despite Plaintiffs’ repeated requests to delay ruling until they discover facts to state a claim, no

facts will alter the legal deficiency of Plaintiffs’ claims. Thus, the Court should order that Ms.

McDonald need not respond to Plaintiffs’ motion for class certification until after the Court’s

ruling on Defendants’ motions to dismiss. Proposed orders are attached.




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Dated:   February 16, 2009          Respectfully submitted,




                                    _/s/ John M. Bray__________________
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                                    Counsel for Defendant Esther Slater McDonald




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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


SEAN M. GERLICH, et al.                   )
                                          )
            Plaintiffs,                   )
                                          )
                                          )
            v.                            )                  CASE NO.: 1:08-cv-1134 (JDB)
                                          )
UNITED STATES DEPARTMENT                  )
OF JUSTICE, et al,                        )
                                          )
            Defendants.                   )
__________________________________________)

                                     PROPOSED ORDER

       Upon consideration of Defendant Esther Slater McDonald’s Motion to Strike the Class

Allegations, and based upon the entire record herein, it is hereby

       ORDERED that Defendant Esther Slater McDonald’s Motion to Strike the Class

Allegations is GRANTED; and

       FURTHER ORDERED that the Class Action Allegations in the Second Amended

Complaint against Defendant Esther Slater McDonald be, and hereby are dismissed.



       SO ORDERED.

       Entered this _______ day of ________, 2009.




                                             THE HONORABLE JOHN D. BATES
                                                     United States District Judge
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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


SEAN M. GERLICH, et al.                   )
                                          )
            Plaintiffs,                   )
                                          )
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            v.                            )               CASE NO.: 1:08-cv-1134 (JDB)
                                          )
UNITED STATES DEPARTMENT                  )
OF JUSTICE, et al,                        )
                                          )
            Defendants.                   )
__________________________________________)

                                   PROPOSED ORDER

      Upon consideration of Defendant Esther Slater McDonald’s Motion to Stay Class Action

   Briefing Schedule and Related Proceedings Pending Resolution of Defendants’ Motions to

   Dismiss Plaintiffs' Second Amended Complaint, and based upon the entire record herein, it is

   hereby

      ORDERED that Defendant Esther Slater McDonald’s Motion is GRANTED.



      SO ORDERED.

      Entered this _______ day of ________, 2009.




                                           THE HONORABLE JOHN D. BATES
                                           United States District Judge
     Case 1:08-cv-01134-TFH Document 74 Filed 02/16/09 Page 8 of 8



                            CERTIFICATE OF SERVICE

       I certify that on this 16th day of February 2009, I caused a copy of the foregoing

DEFENDANT ESTHER SLATER MCDONALD’S MOTION TO STRIKE

THE CLASS ALLEGATIONS OR, IN THE ALTERNATIVE, TO STAY CLASS

CERTIFICATION BRIEFING AND RELATED PROCEEDINGS PENDING

RESOLUTION OF DEFENDANTS’ MOTIONS TO DISMISS PLAINTIFFS’ SECOND

AMENDED COMPLAINT AND MEMORANDUM OF LAW IN SUPPORT

THEREOF to be filed electronically and that the document is available for viewing and

downloading from the ECF system.



                                             /s/ John M. Bray
                                             John M. Bray
